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  Attorneys for Defendants
  OHANA MILITARY COMMUNITIES, LLC
  FOREST CITY RESIDENTIAL MANAGEMENT, LLC

                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

  PLAINTIFFS CARA BARBER,                    CIVIL NO. 14-00217 HG-KSC
  MELISSA JONES, MELISSA
  STREETER, KATIE ECKROTH, BOB               DEFENDANTS OHANA
  BARBER, TIM JONES, AND RYAN                MILITARY COMMUNITIES, LLC
  ECKROTH, On Behalf of Themselves           AND FOREST CITY
  and All Others Similarly Situated,         RESIDENTIAL MANAGEMENT,
                                             LLC’S EX PARTE APPLICATION
                    Class Plaintiffs,        FOR LEAVE TO FILE UNDER
                                             SEAL (1) THEIR EX PARTE



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                                            APPLICATION TO UNSEAL A
        vs.                                 PORTION OF THE TRANSCRIPT
                                            OF THE AUGUST 15, 2016
  OHANA MILITARY COMMUNITIES,               EVIDENTIARY
  LLC, FOREST CITY RESIDENTIAL              HEARING, (2) THE
  MANAGEMENT, INC.; and DOE                 DECLARATION OF RANDALL C.
  Defendants 1-10,                          WHATTOFF THERETO, AND
                                            (3) EXHIBITS A–F THERETO;
                    Defendants.             [PROPOSED] ORDER GRANTING
                                            DEFENDANTS OHANA
                                            MILITARY COMMUNITIES, LLC
                                            AND FOREST CITY
                                            RESIDENTIAL MANAGEMENT,
                                            LLC’S EX PARTE APPLICATION
                                            FOR LEAVE TO FILE UNDER
                                            SEAL (1) THEIR EX PARTE
                                            APPLICATION TO UNSEAL A
                                            PORTION OF THE TRANSCRIPT
                                            OF THE AUGUST 15, 2016
                                            EVIDENTIARY
                                            HEARING, (2) THE
                                            DECLARATION OF RANDALL C.
                                            WHATTOFF THERETO, AND
                                            (3) EXHIBITS A–F THERETO;
                                            CERTIFICATE OF SERVICE




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        DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND
            FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S
        EX PARTE APPLICATION FOR LEAVE TO FILE UNDER SEAL
      (1) THEIR EX PARTE APPLICATION TO UNSEAL A PORTION OF
         THE TRANSCRIPT OF THE AUGUST 15, 2016 EVIDENTIARY
      HEARING, (2) THE DECLARATION OF RANDALL C. WHATTOFF
               THERETO, AND (3) EXHIBITS A–F THERETO

               Defendants Ohana Military Communities, LLC (“Ohana”) and Forest

  City Residential Management, LLC, successor by conversion to Forest City

  Residential Management, Inc. (“Forest City”) (collectively “Defendants”) hereby

  apply, ex parte, to seal their Ex Parte Application to Unseal a Portion of the

  Transcript of the August 15, 2016 Evidentiary Hearing, the Declaration of Randall

  C. Whattoff, and Exhibits A–F thereto (collectively, the “Application to Unseal”).

               As discussed at length in the Application to Unseal, the Application to

  Unseal discusses a matter currently proceeding in a confidential forum. In order to

  protect the confidentiality of that proceeding, the Application to Unseal must be

  submitted under seal. In addition, Defendants’ Application to Unseal quotes and

  discusses the August 15, 2016 Transcript of Proceedings before the Honorable

  Helen Gillmor. The portion of the transcript discussed is currently under seal and

  is the subject matter of the Application to Unseal.

               This Application is brought pursuant to Rules 5.2(d) and 7 of the

  Federal Rules of Civil Procedure; the rules on confidentiality cited in the

  Application to Unseal; and Rule 83.12 of the Local Rules of the United States



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  District Court for the District of Hawai‘i. This Application is supported by the

  Application to Unseal, the attached declaration thereto, and the records and files

  herein, and such further evidence and arguments that might be presented on this

  matter.

                                     Legal Standard

               “[C]ourts have recognized a ‘general right to inspect and copy public

  records and documents, including judicial records and documents.’” Kamakana v.

  City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v.

  Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)). The Ninth Circuit recognizes

  “a strong presumption in favor of access to court records.” Foltz v. State Farm

  Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003).

               To overcome this presumption, the party seeking to seal records bears

  the burden of meeting the “good cause” or “compelling reasons” standard. Center

  for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092 (9th Cir. 2016). In

  determining which standard applies, the focus is on “whether the motion at issue is

  more than tangentially related to the underlying cause of action.” Id. If the motion

  at issue is not related or tangentially related to the merits of the case, the good

  cause standard applies. Because the motion here does not relate to the merits of

  the case, it is subject to the “good cause” standard.




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                          Basis for This Ex Parte Application

               The Application to Unseal discusses and quotes from a matter that is

  currently proceeding in a confidential forum. That matter cannot be discussed in

  more length here without disclosing the confidential nature of the proceeding, but

  the issue is discussed at length in the Application to Unseal. The confidential

  nature of that proceeding, and the rules protecting the confidential nature of that

  proceeding, warrant sealing the Application to Unseal.

               In addition, the Application to Unseal discusses Defendants’ motion

  for preliminary injunction on the issue of whether Plaintiff Cara Barber breached

  certain provisions in the parties’ confidential settlement agreement in Cara Barber,

  et al. v. Ohana Military Communities LLC, et al., Civil No. 14-00217-HG-RLP.

  Because the preliminary injunction motion addressed this confidential issue,

  portions of the transcript were sealed by the Court.

               For the foregoing reasons, Defendants request that the Court seal

  Defendants’ Ex Parte Application to Unseal a Portion of the Transcript of the

  August 15, 2016 Evidentiary Hearing, the Declaration of Randall C. Whattoff, and

  Exhibits A–F thereto.




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              DATED: Honolulu, Hawai‛i, December 7, 2016.


                                    /s/ Randall C. Whattoff
                                    LISA WOODS MUNGER
                                    RANDALL C. WHATTOFF
                                    CHRISTINE A. TERADA

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                                    and FOREST CITY RESIDENTIAL
                                    MANAGEMENT, LLC




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